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                                United States District Court
                                Northern District of Texas
                                      Dallas Division

 Bertrum Jean et al.,                              §
       Plaintiffs,                                 §
                                                   §
 v.                                                §   Civil Action No. 3:18-cv-02862-M
                                                   §
 The City of Dallas, Texas and                     §
 Amber Guyger,                                     §
       Defendants.                                 §

                    Defendant Guyger’s Reply to Plaintiffs’ Response
                      to Defendant Amber Guyger’s Motion to Stay

       Defendant Amber Guyger (“Guyger”) files this reply to Plaintiffs’ Response to

Defendant Amber Guyger’s Motion to Stay (“Plaintiffs” Response). Plaintiffs’ Response

does not establish that Defendant Amber Guyger’s Motion to Stay this Action Pending

Resolution of Her Criminal Case, and Brief in Support (“Motion to Stay”) should not be

granted.

                                         I.
                              ARGUMENT AND AUTHORITIES

A.     Guyger Has Not Admitted the Allegations in Plaintiffs’ Original Complaint

       Plaintiffs’ primary argument against the Motion to Stay is that Guyger has

admitted the allegations in Plaintiffs’ Original Complaint because she did not file an

answer or Rule 12 motion by the deadline contained in the Court’s order granting Guyger

an extension of time to March 22, 2019, to do so. (Pls.’ Resp. at 2-10, 13, 18-19.) Plaintiffs’

argument is without merit.

       Guyger filed the Motion to Stay on March 22, 2019; it was therefore filed before

the answer deadline expired. (See Ct.’s Docket.) In requesting that this action be stayed,

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Guyger specifically requested that her filing of an answer or Rule 12 motion be included in

the stay. (Mot. Stay at 2, 11.) Plaintiffs have cited no authority that a motion to stay filed

prior to a defendant’s answer deadline in lieu of an answer or Rule 12 motion results in

the admission of the allegations in the complaint for failure to timely deny those

allegations.

       Instead, Plaintiffs have cited rules and cases that do not apply to Guyger’s Motion

to Stay. They first cite this Court’s Local Rule 40.1 as support for their argument that

Guyger’s answer deadline expired without an answer or Rule 12 motion being filed and

granting the Motion to Stay will not extend or revive that deadline. (Pls.’ Resp. at 3, 4);

N.D. Tex. L.R. 40.1. As Plaintiffs admit, however, Local Rule 40.1 applies to motions for

continuance of trial settings. (Pls.’ Resp. at 4 n.2); N.D. Tex. L.R. 40.1. Plaintiffs attempt to

argue that “continuance” and “stay” are often used interchangeably, so Local Rule 40.1

should apply equally to motions to stay. (Pls.’ Resp. at 4 n.2.) On the contrary, a simple

reading of Local Rule 40.1 makes clear that, even if the terms are interchangeable in that

context, the rule presumes pretrial deadlines are in effect and applies only to

continuances of trial settings. N.D. Tex. L.R. 40.1. There is no scheduling order or trial

setting in this action at this time. In addition, the rule provides that the presiding judge

can order an extension or revival of a deadline. Id.

       Plaintiffs next argue that, because Guyger did not file an answer or Rule 12 motion

by March 22, 2019, and did not show good cause for an extension of that deadline, Rule

8(b) of the Federal Rules of Civil Procedure provides that she has admitted the

allegations in Plaintiffs’ Original Complaint. (Pls.’ Resp. at 3, 5-7, 9); Fed. R. Civ. P. 8(b).


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       Again, Plaintiffs have cited no authority that, in lieu of filing an answer or Rule 12

motion, filing a motion to stay an action, including staying the filing of an answer or Rule

12 motion, prior to the expiration of the answer deadline results in the admission by a

defendant of a plaintiff’s allegations. The cases cited by Plaintiffs all hold that allegations

that are not denied are deemed admitted, (Pls.’ Resp. at 5-6), but as shown in this reply,

none of those cases apply to Guyger because there has been no failure to timely answer

or file a Rule 12 motion. The Motion to Stay in this action, with respect to seeking a stay

of filing an answer or Rule 12 motion, is akin to a motion for extension of time – the

difference being a motion for extension of time generally requests an extension to a

specified date, while the Motion to Stay requests a stay until a specified occurrence.

       As for showing good cause, the very nature of the basis for the Motion to Stay –

staying the action until Guyger’s criminal case is resolved – is good cause. More

specifically, the showing in the Motion to Stay that the six factors courts consider when

deciding a motion to stay weigh in favor of a stay establishes good cause. And the

Affidavit of Robert Rogers (Guyger’s attorney in the criminal case), contained as Exhibit

B in the Appendix in Support of Defendant Amber Guyger’s Motion to Stay this Action, is

evidence supporting Guyger’s good cause for and the propriety of a stay in this action.

(App. Support of Def. Guyger’s Mot. Stay, Ex. B.)

       Plaintiffs’ argument that a stay is not warranted because Guyger has admitted the

allegations in Plaintiffs’ Original Complaint is not supported by any relevant authorities

and is without merit. The Motion to Stay should be granted.

B.     The Court Should Stay this Action Pending Resolution of Guyger’s Criminal
       Case

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       In addressing the six factors courts consider in deciding a motion to stay, Plaintiffs

contend that each factor either weighs in favor of not staying this action or does not

weigh for or against a stay. (Pls.’ Resp. at 11-18.) On the contrary, however, as shown by

the analysis of these factors set forth in Motion to Stay (which is reurged but not repeated

here), all six factors weigh in favor of a stay. (Mot. Stay at 4-11.)

       Plaintiffs argue that methods other than a stay, such as protective orders and

sealing answers to discovery, could be utilized in dealing with parallel proceedings. (Pls.’

Resp. at 11, 13, 16, 18.) According to Plaintiffs, these alternative methods could, among

other things, “mitigate” the negative impact to Guyger with respect to the most important

factor, the degree to which the issues in the civil and criminal cases overlap. (Id. at 11.)

These alternative methods, however, are not only highly burdensome, but they would

not adequately protect Guyger’s rights in either the criminal case or this action. In

addition, there would be a risk that documents or testimony subject to a protective order

or sealed could be inadvertently disclosed to someone not entitled to it. Guyger has been

indicted for the first-degree felony of murder, and protecting her rights and assuring a

fair trial in the criminal case is paramount.

       Plaintiffs allege that a stay would prejudice them because witnesses’ memories

might fade or evidence might be lost. (Id. at 13-15.) Plaintiffs fail to identify any witnesses

whose memory might fade or acknowledge that most of the witnesses in this action are

also witnesses in the criminal case. If a stay is granted, those witnesses’ recollections will

remain fresh because of the criminal case.

       Plaintiffs improperly state, in arguing against a stay, that “Guyger has scrubbed

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her social media accounts to remove posts containing statements potentially adverse to

Guyger’s defense,” and that the Dallas Police Department “even fed misinformation to the

media in a preemptive attempt to provide the public the City’s and Guyger’s own version

of the events, bolster Guyger’s defense, and paint Jean in a negative light before the

investigation could occur.” (Id. at 14.) Plaintiffs continue:

        [T]here is no reason to allow Guyger or the City additional time to prevent
        Plaintiffs from obtaining testimony and documentary evidence from
        witnesses, whose memories may be altered by news coverage and the
        DPD’s misinformation. Acquiring such information “while it is still fresh” [
        ], before Guyger or the DPD has a chance to remove it, is of great concern to
        Plaintiffs.

(Id. at 14-15.) Guyger objects to these inflammatory and prejudicial statements because

they are not supported by evidence and they contain inadmissible hearsay and

speculation. The Court should not consider these statements in deciding the Motion to

Stay.

        Guyger has established in the Motion to Stay and this reply that the relevant

factors weigh in favor of granting a stay of this action, and Plaintiffs have not shown

otherwise. The Motion to Stay should therefore be granted.

                                             II.
                                         CONCLUSION

        Guyger has not admitted the allegations in Plaintiffs’ Original Complaint by not

timely denying those allegations. And, as shown in the Motion to Stay and this reply, the

interest of Guyger’s receiving a fair criminal trial and the interests outlined in the Motion

to Stay weigh in favor of staying this action until the completion of Guyger’s criminal case.

        Wherefore, Defendant Amber Guyger requests that the Motion to Stay be granted,


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that this action, including Guyger’s filing of an answer or Rule 12 motion, be stayed

pending resolution of the criminal case against Guyger, and that Guyger be granted all

other relief to which she is entitled.

                                                   Respectfully submitted,

                                                   _ s/ Mark E. Goldstucker__________________
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                                    Certificate of Service

       On April 26, 2019, a copy of the foregoing document was served electronically

through the Court’s ECF system on all counsel of record.

                                                   _ s/ Mark E. Goldstucker__________________
                                                   Mark E. Goldstucker




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